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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-337V
                                          UNPUBLISHED


    ISAAC FRIEDMAN,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: October 5, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Bruce William Slane, Law Office of Bruce W. Slane, P.C., White Plains, NY, for
petitioner.

Lara Ann Englund, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On March 5, 2019, Isaac Friedman filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered a Shoulder Injury Related to Vaccine
Administration (“SIRVA”) as a result of an influenza (“flu”) vaccine administered on
February 25, 2018. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

       On October 5, 2020, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for his SIRVA. On October 5, 2020, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $46,299.00. Proffer
at 1. In the Proffer, Respondent represented that Petitioner agrees with the proffered

1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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award. Id. Based on the record as a whole, I find that Petitioner is entitled to an award as
stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $46,299.00 (representing compensation in the amount of
$45,000.00 in pain and suffering and $1,299.00 in past, unreimbursed expenses) in
the form of a check payable to Petitioner. This amount represents compensation for
all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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